Filed 06/10/20                                       Case 19-12351                                        Doc 89



       1   THOMAS O. GILLIS, SBN 40186
       2
           1006 H STREET, SUITE 1
           MODESTO, CALIFORNIA 95354
       3   TEL: (209) 575-1153
           FAX: (866)750-5566
       4

       5                             UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF CALIFORNIA
       6                                      FRESNO DIVISION
       7

       8   In Re:                                              CASE NO. 19-12351
                    ERICA ALEJANDRA GOMEZ,                     Chapter 13
       9                                                       Continued Hearing:
      10                         Debtor.                       DATE: June 24, 2020
                                                               TIME: 9:30 a.m.
      11                                                       DEPT: US Bankruptcy Court
      12
                                                                        2500 Tulare St., 5th Fl, Rm 13,
                                                                        Fresno, CA
      13                                         /             JUDGE: Hon. Reneʹ Lastreto
      14

      15
                                               PROOF OF SERVICE
      16

      17
                    I am employed in the County of Stanislaus: State of California. I am over the age
      18

      19   of eighteen years and not a party to the within cause; my business address is 1006 H
      20   Street, Ste. 1, Modesto, California 95354. On Today’s date, I served the following
      21
           documents:
      22

      23
                      1)   Status Report of Thomas O. Gillis

      24

      25
                    The documents were served on the interested parties in said cause, by electronic
      26
           mail, or by placing a true copy thereof enclosed in a sealed envelope with postage thereon
      27

      28




                                                      Page 1 of 2
Filed 06/10/20                                    Case 19-12351                                        Doc 89



       1
           fully prepaid as indicated below in the United States mail at Modesto, California
       2
           addressed and served as indicated:
       3
                                     Office of the US Trustee
       4
                                     2500 Tulare Street, Suite 1401
                                     Fresno, CA 93721
       5
                                     Ustpregion17.fr.ecf@usdoj.gov
       6
                                     Michael Meyer
                                     P.O. Box 28950
       7
                                     Fresno, Ca 93729-8950
                                      Cvinson@meyer13.com
       8

       9

      10
                 I declare under penalty of perjury that the foregoing is true and correct, and that
      11

      12   this declaration was executed on June 10, 2020, in Oakdale, California.
      13

      14
                                                       /s/ Valerie Johnson
      15                                               Valerie Johnson
      16

      17

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      19

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